
PER CURIAM
Sean Dougherty ("Claimant") appeals from the order of the Labor and Industrial Relations Commission disqualifying him *77from unemployment benefits after his termination from his employment with Custom Cellular, Inc. because of misconduct connected with work. We affirm.
We have reviewed the briefs of the parties, the legal file, and the record on appeal and find the claims of error to be without merit. No error of law appears. An extended opinion reciting the detailed facts and restating the principles of law applicable to this case would serve no jurisprudential or precedential purpose. We have, however, provided a memorandum opinion for the use of the parties setting forth the reasons for our decision. We affirm the Judgment pursuant to Rule 84.16(b).
